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                     Exhibit B
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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS




D.V.D., et al.,
Individually and on behalf of all others
similarly situated,                                         Civil Action No. 1:25-cv-10676-
                                                            BEM

                          Plaintiffs,
        v.
U.S. Department of Homeland Security,
et al.,


                          Defendants.



                        DECLARATION OF MARCOS D. CHARLES
I, Marcos D. Charles, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as follows:

       1.      I am an Acting Assistant Director for Field Operations at Enforcement and

Removal Operations (“ERO”) at U.S. Immigration and Customs Enforcement (“ICE”) within the

U.S. Department of Homeland Security (“DHS”). As the Acting Assistant Director, I am

responsible for the oversight of twenty-five ERO Field Offices, ensuring all field operations are

working to efficiently execute the agency mission.

       2.      I began my career with the U.S. Government as a Border Patrol Agent for the

former Immigration and Naturalization Service in Hebbronville, TX. Over time I was promoted

to Senior Border Patrol Agent, Supervisory Border Patrol Agent, and Field Operations

Supervisor. I joined ICE in 2008 an Assistant Officer in Charge. Overtime I was promoted to

Supervisory Detention and Deportation Officer, Assistant Field Office Director, Chief of Staff,
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Deputy Field Office Director, and Field Office Director before becoming the Acting Assistant

Director.

         3.     I provide this declaration based on my personal knowledge, reasonable inquiry,

and information obtained from various records, systems, databases, other DHS employees, and

information portals maintained and relied upon by DHS in the regular course of business.

         4.     This Court has ordered that Defendants address “the news reports regarding

statements made by South Sudan’s police spokesperson, Maj. Gen. James Monday Enoka, that if

migrants arrive in South Sudan, they would be investigated and ‘redeported to their correct

country’ if found not to be South Sudanese and whether this implicates the prohibition against

chain refoulment.” ECF No. 121. The first I heard of this statement of Maj. Gen. Enoka was

during the course of the hearing on Monday, May 21, 2025. Defendants lack any personal

knowledge regarding whether the migrants to which he refers are related to aliens whom the

Department of Homeland Security negotiated with the government of South Sudan to accept.

         5.     Regardless, review of the individual immigration cases of the aliens on the plane

subject to the Court’s inquiries—



              —revealed that none were granted withholding of removal under the Immigration

and Nationality Act or withholding or deferral of removal under the regulations implementing

Article 3 of the Convention Against Torture to any country, including their country of nationality.

Therefore, based on my understanding, the principle of “chain refoulment” does not apply to

them.


I declare under penalty of perjury that the foregoing is true and correct.

Signed on the 22nd day of May, 2025
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                                                   Digitally signed
                                 MARCOS D          by MARCOS D
                                                   CHARLES
                                 CHARLES           Date: 2025.05.22
                                                   17:01:44 -04'00'
                                    ________________
                                    Marcos D. Charles
                                    Acting Assistant Director
                                    Field Operations
                                    Enforcement and Removal Operations
                                    U.S. Immigration and Customs
                                    Enforcement
                                    U.S. Department of Homeland Security
